Case 1:06-cr-00265-DLI             Document 484             Filed 08/10/12       Page 1 of 3 PageID #: 3807




 UNITED STATES OF AMERICA
 EASTERN DISTRICT OF NEW YORK
 -------------------------------------------------------x
 UNITED STATES OF AMERICA,                             :              SUMMARY ORDER DENYING
                                                       :             MOTION TO AMEND/CORRECT
                   -against-                           :                     SENTENCE
                                                       :
 VIRGILIO HICIANO,                                     :                    DOCKET NO. 06-CR-265
                                                       :
                            Defendant.                 :
 -------------------------------------------------------x
 DORA L. IRIZARRY, U.S.D.J. :

           Defendant, moving pro se, requests that the court amend his sentence so that the

 sentences on counts one and three will run concurrently. (See Hiciano Motion for Specific

 Performance, Doc. Entry No. 466.) For the reasons set forth below, defendant’s motion is

 denied.

           In reviewing defendant’s motion, the court is mindful that, “[a] document filed pro se is

 to be liberally construed and a pro se complaint, however inartfully pleaded, must be held to less

 stringent standards than formal pleadings drafted by lawyers.” Erickson v. Pardus, 551 U.S. 89,

 94 (2007). Accordingly, the court interprets the motion “to raise the strongest arguments that [it]

 suggest[s].” Triestman v. Fed. Bureau of Prisons, 470 F. 3d 471, 474 (2d Cir. 2006).

           Defendant previously filed a motion seeking the same relief. (See Hiciano Letter dated

 4/4/11, Doc. Entry No. 435.) 1           On April 11, 2011, the court entered an Electronic Order

 clarifying for defendant the sentence that the court imposed on September 16, 2010:

                  [T]he court clarifies the sentence imposed on September 16, 2010.
                  As to count 1, 60 months in custody; as to count 2, time served to
                  run consecutively to the term imposed on count 1; and as to count
                  3, 12 months to run consecutively to the terms imposed on both
                  counts 1 and 2. By law, the sentences imposed on counts 2 and 3
                  must run consecutively to each other, as well as to the term

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    In addition to the instant application, defendant made four subsequent additional applications seeking the same
 relief. see, Doc. Entry Nos. 440, 453, 469, and 473. These other applications are denied for the same reasons stated
 herein.
Case 1:06-cr-00265-DLI        Document 484        Filed 08/10/12     Page 2 of 3 PageID #: 3808




                imposed on count 1. However, defendant is entitled to receive
                credit for time already served in this case pending disposition and
                sentence, as well as any “good time” credit he has earned.

 (See 4/11/11 ECF Order.)

         To clarify further, the court imposed a sentence of 60 months custody on Count 1, which

 charged the defendant with a narcotics conspiracy. Count 1 carried a mandatory minimum

 sentence of 120 months, but the court downwardly departed from the mandatory minimum based

 upon the granting of the government’s motion pursuant to U.S. Sentencing Guideline

 (“U.S.S.G.”) § 5K1.1 and 18 U.S.C. § 3553(e) for defendant’s substantial assistance to the

 government. Similarly, the court imposed a sentence of time served on Count 2, which charged

 the defendant with use and possession of a firearm in furtherance of a drug trafficking crime and

 carried a seven-year minimum prison sentence. The court imposed a sentence of 12 months of

 incarceration for Count 3, which charged defendant with bail jumping and carried no minimum

 sentence and a maximum of ten years. By operation of law, the bail jumping sentence must run

 consecutive to the sentences imposed on the other counts.

        The court took into consideration the government’s motion under U.S.S.G. § 5K1.1 for a

 downward departure and imposed a sentence significantly lower than the mandatory minimum

 sentences otherwise required under Counts 1 and 2, in light of defendant’s cooperation with the

 government and his truthful testimony at the trial of codefendant Luis Batista. Significantly, the

 sentence imposed by the court downwardly departed substantially from the advisory sentencing

 guideline range of 360 months to life imprisonment. Defendant has no legal or factual basis for

 requesting that the court amend his sentences to have them run concurrently. To do so would

 make the sentences illegal. Accordingly, defendant’s motion is denied. Moreover, defendant is

 advised that the court will not entertain any additional motions concerning this same request.
Case 1:06-cr-00265-DLI        Document 484       Filed 08/10/12      Page 3 of 3 PageID #: 3809




                                         CONCLUSION

        Defendant’s motion for specific performance is denied. Defendant is advised that the

 court will not entertain any additional motions seeking the same relief. As Defendant has not

 made a substantial showing of the denial of a constitutional right, a certificate of appealability

 shall not issue. See 28 U.S.C. § 2253. The court certifies, pursuant to 28 U.S.C. § 1915(a), that

 any appeal from this order would not be taken in good faith, and, therefore, in forma pauperis is

 denied for the purpose of an appeal. Coppedge v. United States, 369 U.S. 438 (1962).



 SO ORDERED.

 Dated: Brooklyn, New York
        August 10, 2012

                                                                        /s/
                                                              DORA L. IRIZARRY
                                                            United States District Judge
